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     Acting Federal Defender
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     Assistant Federal Defender
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DONNA LAVETTA WILSON
 6
 7                                  IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                        )   CASE NO. CR-S-06-450 (LKK)
10                                                    )
                             Plaintiff,               )
11                                                    )   ORDER AFTER HEARING
            v.                                        )
12                                                    )
     DIALLO SIMS                                      )   JUDGE: Lawrence K. Karlton
13                                                    )
     DONNA LAVETTA WILSON,                            )
14                                                    )
                       Defendants.
15   _______________________________
16          This matter came on for Motion Hearing on March 6, 2007, in the courtroom of the Honorable
17   Lawrence K. Karlton, Senior Judge. Special Assistant United States Attorney Dale Kitching appeared on
18   behalf of the United States of America. Attorney Hayes Gable, III, appeared for Diallo Sims, who was
19   present and in custody, and Assistant Federal Defender Lexi Negin appeared on behalf of Defendant
20   Donna Wilson, who was present and in custody.
21          Based upon the filings, the Court denies the Defendant’s Motion to Suppress Evidence. With the
22   agreement of the parties, the Court’s holds in abeyance a ruling on Defendant Wilson’s Motion to
23   Dismiss.
24          Both defense counsel requested additional time for investigation, review of discovery and to
25   prepare a defense of the case. All parties agreed to a further status hearing date of April 10, 2007.
26                Accordingly, the parties agreed to exclude time from calculation under the Speedy Trial Act
27   for the reasons stated above, pursuant to 18 U.S.C. §3161 (h)(8)(B)(iv) and Local Code T4, for
28   Order After Hearing
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 1   preparation of counsel, from March 6, 2007, up until and including April 10, 2007.
 2          Good cause appearing therefor,
 3          IT IS ORDERED that this matter is continued to April 10, 2007, at 9:30 a.m. for status hearing.
 4          IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(8)(B)
 5   (iv) and Local Code T4, the period from March 6, 2007, up to and including April 10, 2007, is excluded
 6   from the time computations required by the Speedy Trial Act due to ongoing preparation of counsel.
 7   Dated: March 8, 2007
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     Order After Hearing                                 2
